Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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Case 8:22-bk-11137-SC   Doc 1 Filed 07/10/22 Entered 07/10/22 15:57:32   Desc
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